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UNITED STATES DISTRICT COURT

for the
DISTRICT OF MASSACHUSETTS

BATTERY CONSERVATION INNOVATIONS, LLC

 

 

Plaintiff
Civil Action No.:
Vv. 1:19-—CV—-11045-—GAO
HOCOMA INCORPORATED
Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Hocoma Incorporated
Via Its Registered Agent:
Frank Menzler
77 Accord Park Dr., suite D-1
Norwell, MA 02061

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) -—— or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12 (a)(2) or (3) —-— you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
served on the plaintiff or plaintiff's attorney, whose name and address are:

David A Chavous, Esq.
CHAVOUS INTELLECTUAL PROPERTY LAW LLC

793 Turnpike Street, Unit 1

North Andover, MA 01845
If you fail to respond, judgment by default will be entered against you for the relief demanded in

the complaint. You also must file your answer or motion with the court.

ROBERT M. FARRELL
CLERK OF COURT

/s/ — Leonardo Topanotti Vieira
Signature of Clerk or Deputy Clerk

 

ISSUED ON 2019-05-06 10:17:19.0, Clerk USDC DMA
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Civil Action No.: 1:19-CV—-11045-GAO
PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4())
This summons for (name of individual and title, if any) L LOCO» phiZe +

was received by me on (date) J Mil ¢ ; So Prange PANEL ALG £48
P7 ace pari, ane Sele D>/
(1 I personally served the summons on the individual at (place) PONSA, A

 

on (date) ; or

 

J left the summons at the individual's residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual's last known address; or
Xx I served the summons on (name of individual) F S E4nt Cau FIELD , who is
designated by law to accept service of process on behalf of (name of organization) ff2conwn poe

on (date) /23 HG_;o0r

 

 

“) I returned the summons unexecuted because 5 or
Cl Other (specify) :
My fees are $ for travel and $ for services, for a total of $_ __5 ZZ .

I declare under penalty of perjury that this information is true.

Server's Signature

LRLIMOAAS TF Ofg bi = LCE LO VOF
Printed name and title

 

Server's Address

Additional information regarding attempted service, etc:
